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 1                                                            HONORABLE RICHARD JONES
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 6                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WASHINGTON
 7                                   AT SEATTLE
 8
     UNITED STATES OF AMERICA,                         No. 2:20-cr-00113-RAJ
 9
                                 Plaintiff,
10                                                     ORDER CONTINUING TRIAL DATE
            vs.                                        AND PRETRIAL MOTIONS DEADLINE
11
     GURSEWAK SINGH,
12
                                 Defendant.
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14
            THE COURT has considered Defendant Singh’s unopposed motion for a
     continuance of the trial date and the pretrial motions due date. Defense Counsel has
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     indicated by way of his declaration that he requires additional time to consult with the
16   Defendant, prepare for pretrial motions, and prepare for trial. In addition, Defense
17   Counsel has indicated that he has not yet received full discovery. Defense Counsel has

18   represented to the Court that the Defendant agrees with the continuance and Defendant
     has executed a speedy trial waiver. Defense Counsel has further represented to the Court
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     that he has conferred with counsel for the Government who indicated that the
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     Government will not oppose this request.
21          Based upon Defendant’s motion and Defense Counsel’s declaration, the Court
22   finds that the ends of justice will be served by ordering a continuance in this case, that a
     continuance is necessary in order to ensure that Defense Counsel has sufficient time for
23



      ORDER CONTINUING TRIAL - 1
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 1   case preparation, and that these factors outweigh the best interests of the public and the
 2   Defendant in a speedy trial within the meaning of the Speedy Trial Act, 18 U.S.C. §

 3   3161(h)(7)(A).
            IT IS THEREFORE ORDERED that Defendant’s Unopposed Motion to Continue
 4
     Trial Date and Pretrial Motions Deadline (Dkt. #23) is GRANTED. The trial date in this
 5
     matter is continued to January 19, 2021, at 9:00 a.m.
 6          IT IS FURTHER ORDERED that all pretrial motions, including motions in

 7   limine, shall be filed no later than December 3, 2020.
            IT IS FURTHER ORDERED that the period of time from the date of this order
 8
     through the new trial date of January 19, 2021, shall be excludable time pursuant to the
 9
     Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(A) and (h)(8)(B)(i) and (iv).
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11          DATED this 18th day of September, 2020.

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                                                       A
                                                       The Honorable Richard A. Jones
14                                                     United States District Judge

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      ORDER CONTINUING TRIAL - 2
